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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                        FORT LAUDERDALE DIVISION

   EDWIDG EUGENE,

         Plaintiff,                            CASE NO. __________

   v.                                              CIVIL DIVISION

   MODERN             CONCEPTS
   CONSTRUCTION, LLC, MODERN
   CONCEPTS      SOLAR     AND
   ROOFING, INC. and GOODLEAP,
   LLC,

         Defendants.
   __________________________________/

                     DEFENDANT GOODLEAP, LLC’S
                NOTICE OF REMOVAL TO FEDERAL COURT

        Defendant, GOODLEAP, LLC (“GoodLeap”), pursuant to 28 U.S.C. §§

  1441(a), 1446(a), and 1331, hereby files its notice of removal of that action filed

  by Plaintiff, EDWIDG EUGENE (“Plaintiff”), in the Seventeenth Judicial

  Circuit Court in and for Broward County, Florida to the United States District

  Court for the Southern District of Florida, Fort Lauderdale Division.           In

  support thereof, GoodLeap states as follows:


                        PROCEDURAL BACKGROUND


        On or about June 22, 2023, Plaintiff filed his complaint (the “Complaint”)

  in that certain action styled Edwidg Eugene v. GoodLeap, LLC, et al., case no.

  23-ca-10590, in the Circuit Court of the Seventeenth Judicial Circuit Court in
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  and for Broward County, Florida (the “State Court Action”). GoodLeap was

  served with Plaintiffs’ Complaint on June 29, 2023.


               GROUNDS FOR REMOVAL UNDER 28 U.S.C. § 1331


         Removal of the State Court Action to the United States District Court

  for the Middle District of Florida is proper pursuant to 28 U.S.C. § 1441(a) and

  28 U.S.C. § 1331, because the State Court Action is a civil action founded on a

  claim or right arising under the laws of the United States. This Court has

  original jurisdiction over the subject matter of Plaintiffs claims asserted in the

  State Court Action because federal questions have been alleged therein

  relating to consumer disclosures. See 28 U.S.C. § 1331 (“The district courts

  shall have original jurisdiction of all civil actions arising under the

  Constitution, laws, or treaties of the United States.”)


         Specifically, Plaintiff purports to assert claims against GoodLeap under

  the Electronic Signatures in Global and National Commerce Act, 15 U.S.C. §

  70011 and the Truth and Lending Act. In the State Court Action, Plaintiff

  alleges “[a]t the time of the transaction, Defendant failed to give the necessary

  disclosures as required under The E-Sign Act (see 15 U.S.C. § 7001(c)(1)(a))

  and the Truth and Lending Act (TILA).” See Compl., at ¶ 39. Accordingly,

  removal is proper because Plaintiff asserts claims against GoodLeap which


  1 Out of an abundance of caution, GoodLeap asserts that it does not concede that the E-Sign Act

  creates a private right of action.
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  arise from federal statutes, and the district courts have original jurisdiction

  over such claims.


          COMPLIANCE WITH PROCEDURAL REQUIREMENTS


        Pursuant to 28 U.S.C. § 1441(a), venue of the removal action is proper in

  the United States District Court for the Southern District of Florida, Fort

  Lauderdale Division, because that is the district and division embracing the

  place where the State Court Action is pending.


        In accordance with 28 U.S.C. § 1446(a), a copy of all executed process,

  pleadings, and orders in the State Court Action served upon GoodLeap are

  attached hereto as Exhibit ‘A’. This Notice of Removal is timely filed because

  it was filed on or before the 30th day following service. 28 U.S.C. § 1446(a);

  Fed. R. Civ. P. 6(a)(1).    Pursuant to 28 U.S.C. § 1446(d), GoodLeap has

  contemporaneously filed a copy of this Notice of Removal with the Clerk of the

  Seventeenth Judicial Circuit Court in and for Broward County, Florida.


        WHEREFORE, Defendant GOODLEAP, LLC respectfully removes this

  action from the Seventeenth Judicial Circuit Court in and for Broward County,

  Florida to the United States District Court for the Southern District of Florida,

  Fort Lauderdale Division.


  Dated this 31st day of July, 2023.




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                           Respectfully submitted,

                           NELSON MULLINS RILEY & SCARBOROUGH, LLP
                           Counsel for GoodLeap, LLC
                           1905 N.W. Corporate Blvd., Suite 310
                           Boca Raton, Florida 33431
                           P: 561-343-6900 | F: 561-483-7321

                           By:   /s/ T.W. Anderson
                                 Terrance W. Anderson, Jr., Esq.
                                 Florida Bar No. 27426
                                 TW.Anderson@nelsonmullins.com
                                 Jenny.Sica@nelsonmullins.com

                           By:   /s/ Sophie M. Labarge
                                 Sophie M. Labarge, Esq.
                                 Florida Bar No. 1025145
                                 Sophie.Labarge@nelsonmullins.com
                                 Jenny.Sica@nelsonmullins.com

                          CERTIFICATE OF SERVICE

        I CERTIFY THAT on July 31, 2023, a true and correct copy of the

  foregoing was served on all parties listed in the attached service list.


                           By:   /s/ T.W. Anderson
                                 Terrance W. Anderson, Jr., Esq.
                                 Florida Bar No. 27426


                                  SERVICE LIST

  THE CONSUMER PROTECTION
  ATTORNEY, PA
  301 W. Platt. St., #216
  Tampa, FL 33606
  bryant@theconsumerprotectionattorney.com
  eservice@theconsumerprotectionattorney.com


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     EXHIBIT ‘A’
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               IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                          IN AND FOR BROWARD COUNTY, FLORIDA
                                      CIVIL ACTION


          EDWIDG EUGENE, and
          all others similarly situated,

                                                         CASE NO.: 23-CA-10590
                         Plaintiff,                      JURY TRIAL DEMANDED
                                                         PROPOSED CLASS ACTION
          V.

          MODERN CONCEPTS CONSTRUCTION, LLC,
          MODERN CONCEPTS SOLAR AND ROOFING INC.,
          and GOODLEAP, LLC

                         Defendants.


                                        COMPLAINT
                  Plaintiff, EDWIDG EUGENE (hereinafter "Plaintiff'), by and through the
          undersigned counsel, files this Complaint against MODERN CONCEPTS
          CONSTRUCTION, LLC, MODERN CONCEPTS SOLAR AND ROOFING INC.,
          and GOODLEAP, LLC and as grounds state:
                                                PARTIES
                  1.    This is an action for damages that exceeds $50,000, exclusive of costs
          and attorney's fees.
                  2.    Plaintiff, EDWIDG EUGENE, is a Broward County, Florida, resident.
                  3.    Defendant, MODERN CONCEPTS CONSTRUCTION, LLC ("MC
          CONSTRUCTION), is a Florida limited liability company that does business in this
          county by purportedly providing construction and solar materials to Defendant,
          MODERN CONCEPTS SOLAR AND ROOFING INC., and to residents of the state
          of Florida.
                  4.    Defendant, MODERN CONCEPTS CONSTRUCTION, LLC, is
          avoiding service of process in this state by concealing its whereabouts. Specifically,


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          the registered agent address given by the Defendant is a gated home with no access
          being made or given to process servers. Moreover, the registered agent is not
          present at the property during the statutorily required window.
                   5.    Defendant, MODERN CONCEPTS SOLAR AND ROOFING INC.
          ("MC SOLAR"), is a Florida For-Profit Corporation that does business in this county
          by purportedly providing roofing and solar systems to residents of the state of
          Florida.
                   6.    Defendant, GOODLEAP, LLC, is a California Company that transacts
          business nationally by providing home improvement loans to consumers in Florida
          and Broward County.
                   7.    Defendant GOODLEAP LLC is the financing company for MC SOLAR
          and MC CONSTRUCTION. As it paid for the product and services sold by MC
          SOLAR and MC CONSTRUCTION, the FTC Holder Rule applies. See 16 CFR sS
          433.2.
                   8.    Venue is proper at the property at issue in this litigation is located in
          this county.
                                           GENERAL ALLEGATIONS
                   9.    The plaintiffs first met with Defendant's MC SOLAR representatives
          regarding procuring solar services at his property at 11750 NW 19th St., Plantation,
          FL 33323.
                   10.   MC Solar initially had great reviews online and was the only company
          the Plaintiff interviewed that could provide a Solar System that met his needs, to
          wit, to offset the entire electrical use by the Plaintiff and eliminate an electric bill.
                   11.   In May of 2022, Defendant MC SOLAR presented Plaintiff with a
          purchase contract for a solar Solar System through its agent, MC
          CONSTRUCTION; however, Plaintiff has never been provided with a copy of that
          agreement.




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                 12.    Before May of 2022, and upon information and belief, Plaintiff has yet
          to be presented with or sign an E-Sign Consent form. As a result, any applicable
          recision period has not been correctly given.
                 13.    During the sales presentation, he was told that the Solar System was
          designed to meet his needs.
                 14.    With this in mind, the Solar System was initially designed to offset the
          Plaintiff's utility use essentially.
                 15.    The solar panels were installed in May of 2022.
                 16.    As soon as the panels were installed, Defendant GOODLEAP released
          the funds to MC Solar.
                 17.    After being paid, it took repeated calls to MC Solar to seek a permit,
          waiting until July 2022.
                18.     Inexplicably, the permits were withdrawn in November of 2022
          without receiving the approvals required by the city of Plantation.
                19.     After the withdrawal of the permits, the property was cited for
          installing solar panels without a permit. The investigation is still pending. A true
          and correct copy of the "yellow tag" is attached as Exhibit 1.
                 20.    Despite repeated inquiries, Defendants have not completed the work,
          and the solar system remains inoperable after nine months.
                 21.    Recently, Plaintiff received written correspondence from GOODLEAP,
          attached as Exhibit 2, which indicates that:
         "As you may know, your contractor Modern Concepts has been unresponsive. We
          were recently made aware of his situation and are currently considering ways so we
          can assist you with this situation. Modern Concepts no longer has the capability to
          oversee your project to completion. GoodLeap is actively connecting with a trusted
          third party that will complete the required work and make sure your Solar System
          is fully operation and up and running. We will have a final determination of who
          will be assisting with getting your project to completion in 2 weeks. Please use us as



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          your point of contact moving forward for any questions or concerns about your Solar
          System. We will reach out in 2 weeks with further information and next steps."
                  22.   As a result of this communication, GOODLEAP is taking over for MC
          SOLAR and MC CONSTRUCTION based on the agreements under the FTC Holder
          Rule.
                  23.   All conditions precedent to this suit has been met or waived.
                  24.   Plaintiff has engaged The Consumer Protection Attorney, PA, and has
          agreed that it is owed a reasonable fee for the work performed. Consistent with the
          agreement between the parties, as the prevailing party, Plaintiff may seek
          reimbursement of these amounts paid from Defendants.
                    COUNT I - DECEPTIVE AND UNFAIR TRADE PRACTICES

                 25. Plaintiff realleges and incorporates allegations 1 - 24 as if fully set
          forth herein.
                 26. This is an action for damages and injunctive relief under the Florida
          Deceptive and Unfair Trade Practice Act (Fla. Stat. 501.201, et. seq.)
                  27.   Defendants are businesses engaged in a trade or practice or commerce
          as defined under Fla. Stat. 501.203.
                  28.   Plaintiff are consumers as defined by that act.
                  29.   Defendants offer and sell goods (in the form of roofing and solar panel
          materials and systems) and services (in the form of roofing services) to consumers
          by using unfair acts in furtherance of a trade or commerce, namely, the
          representation to homeowners that damage exists on a roof without a thorough
          inspection of the roof and basing that finding on neighboring parcels.
                  30.   Defendants offer and sell goods (in the form of roofing materials) and
          services (in the form of roofing and solar Solar System services) to consumers by
          using deceptive acts in furtherance of a trade or commerce, namely, the false
          representation of the utility of solar Solar System, including that it would eliminate
          or virtually eliminate a utility bill, that a specific amount of generation of the Solar
          System could be achieved, that the agreements between the parties were valid and


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          binding, despite not giving the proper disclosures under the E-Sign Act (See 15
          U.S.C. sr 7001(c)(1)(a); also Fla. Stat. sr 668.50), not allowing the Plaintiff to read the
          contract in depth at the time of signing, not correctly installing the Solar System,
          not properly permitting the Solar System, not responding to customer inquiries in a
          timely manner, not being unable to complete his contracts with consumers in the
          state of Florida, and installing solar panels without pulling the necessary permits.
                 31.      As a result of these unfair and deceptive acts, Plaintiff was damaged—
          specifically, the rise in the insurance rate and the cost of replacement of the roof in
          question.
                 WHEREFORE, Plaintiff requests actual damages, compensatory damages
          stemming from the misrepresentations, an injunction to enjoin the Defendants from
          advertising or procuring clients in this manner and using a deceptive sales pitch or
          from enforcing those agreements, emotional damages, attorney's fees, and costs, for
          interest (pre and post judgment), and for any and all other relief this Court deems
          just and proper.
                                COUNT II- FRAUD IN THE EXECUTION
                32.       Plaintiff realleges and incorporates allegations 1 - 24 as if fully set
          forth herein.
                33.       Plaintiff was presented with an electronic document, which did not
          correctly afford Plaintiff time to review the contract in a manner that allowed them
          to form the intent to execute any agreement.
                34.       Plaintiff was told that the contract he was signing mirrored the sales
          pitch he was presented with.
                35.       This is patently false. In this cause of action, Plaintiff was told that the
          system he was building would meet his needs to eliminate electricity bills.
                36.       Plaintiff was never told that they "estimated" this data in his sales
          presentation.
                37.       The agreed upon "deal" and the written "deal" contain material
          changes, none of which were represented by the Defendants.


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                WHEREFORE, Plaintiff, requests actual damages, an injunction to enjoin
          Defendant from advertising or procuring clients in this manner, emotional
          damages, attorney's fees and costs, for interest (pre and post judgment), and for any
          and all other relief this Court deems just and proper.
                                       COUNT III - RESCISSION
                38.    Plaintiff realleges and reincorporates allegations 1 24 as if fully set
           forth herein.
                39.    At the time of the transaction, the Defendants failed to give the
           necessary disclosures as required under The E-Sign Act (See 15 U.S.C. sr 7001(c)(1)
           (a); also Fla. Stat. § 668.50) and the Truth and Lending Act (TILA), including, but
           not limited to failing to provide statutorily required disclosures of a three day
           cooling off period as the sale occurred at the Plaintiffs Home, by not providing the
           actual cost of financing on the transaction as would be required under a Mortgage,
           and by not providing the E-Sign Consent ahead of delivering items to the Plaintiff
           electronically.
                40.    As a result of these failures, Plaintiff has been damaged, including
           actual damages and emotional damages arising from increased electrical bills that
           were to be eliminated AND improper reporting on Plaintiffs credit.
                41.    As a result of these failures, Plaintiff has a 3-year right of rescission
           under 15 USC 1635(0. Plaintiff has tendered this notice to the Defendants named
           herein.
                WHEREFORE, the Plaintiff, demands judicial enforcement of the right to
          rescind for actual damages, statutory damages, attorney's fees, and costs, and for
          any other relief this court deems just and proper.
                                COUNT IV-BREACH OF CONTRACT
                42.    Plaintiff realleges and reincorporates allegations 1 - 24 as if fully set
           forth herein.




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                43.     If unsuccessful in Counts I - III, Plaintiff will have been found to have
           a contract between Defendant, MC SOLAR, MC CONSTRUCTION, and
           GOODLEAP.
                44.     That contract is for a solar panel system that would eliminate any and
           all use of "on-grid" electricity or significantly minimize that use.
                45.     To date, this has not occurred.
                46.     As a result, the Defendants' have breached his agreement between the
           parties.
                47.     This breach has caused damages in excess of $90,000.00.
                WHEREFORE, Plaintiff demands actual damages, interest (pre and post
          judgment), attorney's fees and costs, and for any other relief this court deems just
          and proper.
                        COUNT V - AVOIDING FRAUDULENT TRANSFERS
                48.     Plaintiff realleges and incorporate allegations 1 - 24 as if fully set forth
          herein.
                49.     This action is being brought under Fla. Stat. 726.110(a).
                50.     Upon information and belief, Defendants have a shared business
          relationship that allows them to shift assets in an effort to hinder or delay the
          ability for Plaintiff to recover damages.
                51.     As this suit requests damages from these entities, who may improperly
          transfer funds to avoid such collection, any monetary transfers, assignments of
          contracts, or use of funds obtained in furtherance of the behavior complained of
          herein must be avoided.
                52.     Absent avoidance of these transfers, Plaintiff is unable to perfect a
          judicial lien against these assets and obtain justice.
                WHEREFORE, Plaintiff requests judgment in his favor that any transfer
          between MC SOLAR and MC CONSTRUCTION be avoided, for attorney's fees and
          costs and any and all other relief this Court deems just.
                                           COUNT VI- NEGLIGENCE


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                 53.     Plaintiff realleges and reincorporates allegations 1 - 24 as if fully set forth herein.
                 54.     The defendant owed Plaintiff a duty to pull permits and have the solar system
           installed by a licensed professional.
                 55.     This did not occur, and Plaintiff breached that duty.
                 56.     Specifically, on November 22, 2022, the Plaintiff's property was "yellow tagged"
           as the work was done on his home without the required permits. Specifically, any and all
           permits for the work were withdrawn by Defendants MC CONSTRUCTION.
                 57.     This breach caused Plaintiff damages; namely, it has a debt for work that was not
           done properly and gives Plaintiff no benefit.
                 58.     As a result of this breach, Plaintiff rescinds the contract. -
                 WHEREFORE, Plaintiff seeks judgment in his favor, for damages, for attorney's fees and
          court costs, for interest (pre-judgment and post-judgment), and for any other relief this court
          deems just.
                                       DEMAND FOR JURY TRIAL
                            Plaintiff demands a jury trial for all issues so triable.

                                            CERTIFICATE OF SERVICE
                  I hereby certify that I have caused a true and correct copy of the foregoing to be filed
          with the Clerk of Court's efiling portal which will serve all parties who have opted into e-mail
          service on June 22, 2023.

          and, served via US MAIL, to:

          GOODLEAP, LLC., do CT CORPORATION SYSTEM 1200 SOUTH PINE ISLAND
          ROAD PLANTATION, FL 32301-2525

          MODERN CONCEPTS CONSTRUCTION LLC, Chopra, Danny R 201 N. Franklin
          St., Suite 2200 Tampa, FL 33602

          MODERN CONCEPTS SOLAR AND ROOFING INC., c/ o SPIEGEL & UTRERA,
          P.A. 1840 SOUTHWEST 22ND STREET, 4TH FLOOR MIAMI, FL 33145


                                                        Respectfully submitted,

                                                        THE CONSUMER PROTECTION
                                                        ATTORNEY, PA



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                                           Attorneys for Plaintiff.
                                           301 W. Platt St., #216.
                                           Tampa, FL 33606
                                           Phone: 813.252.0239
                                           Email:
                                           bryant@theconsumerprotectionattorney.com
                                           eservice@theconsumerprotectionattorney.co



                                           By:      /s/ Bryant H. Dunivan Jr.
                                                     Bryant H. Dunivan Jr., Esq.
                                                    Fla. Bar No.: 102594
                                                    MI P. No.: 85206 :




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            I   •110k0
                         t
                                                                      11
                                                                     CITY OF PLANTATION
                                                                       BUILDING DEPARTMENT


                                                      Date:    11-2.2..--r2:2—           Time;

                                                       )711...4 Building permit is required for the work being
                                                              performed on the property referenced below.

                                                       r3     Please call regarding Building Permit/Code
                                                              Enforcement case referenced below.


                                                               (E22-- OZSct'2__
                                                     Permit/Casey
• ; '.;11

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                                                     Please contact;

                                                              4. OM-           ti.)42124k,
                                                      Building Inspector (Print Name)



                                                     Phone 4
                                                                  954 --7T3
                                                     401 NW 70 Terrace I Plantation, FL 33317 I 954-797-2765
                                                            Email: helpmebullding@plantation.org
